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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09   UNITED STATES OF AMERICA,             )
                                           )            Case No. CR04-0128-MJP-JPD
10               Plaintiff,                )
                                           )
11         v.                              )            REPORT AND RECOMMENDATION
                                           )            ON ALLEGED VIOLATIONS OF
12   DERRICK McTYLER CATLETT,              )            SUPERVISED RELEASE
                                           )
13               Defendant.                )
     _____________________________________ )
14

15                               I. PROCEDURAL BACKGROUND

16          An initial hearing on a petition for violation of supervised release was held before the

17   undersigned Magistrate Judge on February 15, 2006. The United States was represented by

18   Assistant United States Attorney J. Tate London, and the defendant by Mr. Robert W.

19   Goldsmith. The proceedings were recorded on cassette tape.

20          The defendant had been sentenced on or about November 1, 2004, by the Honorable

21   Marsha J. Pechman on charges of Making, Uttering, and Possessing Counterfeit Securities.

22   Defendant was sentenced to serve 24 months in custody to run concurrently with an

23   undischarged state-court sentence in Orange County Superior Court, with credit for time served

24   from the date defendant entered into California custody on June 20, 2003, to be followed by

25   three years of supervised release.

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     REPORT AND RECOMMENDATION OF
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01          In addition to the standard conditions of supervised release, which include compliance

02   with all local, state, and federal laws, special conditions of supervised release were imposed.

03   These special conditions included, but were not limited to, substance-abuse treatment program,

04   no firearm possession, consent to search, no new credit charges, no possession of identification

05   other than in his legal name, financial disclosure, and restitution.

06          In a Petition for Warrant of Summons and a Violation Report, both dated October 25,

07   2005, U.S. Probation Officer Margaret K. Kellow asserted the following violations of the

08   conditions of supervised release by the defendant:

09          (1)     Failing to report to the probation office as directed on or about August 23, 2005,

10   in violation of standard condition number 2; and

11          (2)     Failing to notify the probation officer at least 10 days prior to any change of

12   residence after August 23, 2005, in violation of standard condition number 6.

13          The defendant admitted to violation number 2, and waived any rights to an evidentiary

14   hearing as to whether it occurred (Dkt. No. 207). The defendant denied alleged violation

15   number 1 and requested an evidentiary hearing on the alleged violation.

16          The hearing on alleged violation number 1 took place on February 27, 2006.

17                      II. FINDINGS ON FEBRUARY 27, 2006, HEARING

18          Mr. Michael Banks, a Senior United States Probation Officer testified as did the

19   defendant Derrick Catlett. Based on the testimony offered, I find the following facts to have

20   occurred:

21          On August 23, 2005, the defendant initiated a call to the United States Probation Service

22   to let them know he had been released from state custody. He asked for his assigned probation

23   officer, Margaret Kellow. However, Officer Kellow was not in the office on that day, so he was

24   placed in contact with Officer Banks, who was the duty officer. Officer Banks instructed the

25   defendant to appear at the U.S. Probation Office. He told the defendant to be there by 4:00 p.m.

26   The defendant gave his contact phone information to Officer Banks.

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01          The defendant did not appear by 4:00 p.m. He understood that he should be there before

02   the end of the day, which he interpreted as 5:00 p.m. He arrived at the federal courthouse

03   around 4:40 p.m. He was advised by the Court Security Officers (“CSOs”) at the entrance of

04   the courthouse that the Probation Office was closed. The Probation Office reception area closes

05   at 4:30 p.m., but there is a bell on the outside of the office that can be used to get someone’s

06   attention after 4:30 p.m. Upon hearing from the CSOs at the courthouse entrance that the

07   Probation Office was closed, the defendant left.

08          The same day, or the day thereafter, the defendant called his State Department of

09   Corrections (“DOC”) Probation Officer. However, he did not re-initiate contact with either

10   Officer Banks or Kellow. He had furnished the Probation Office with his telephone contact

11   information, but no contact was initiated by the U.S. Probation Office until October 21, 2005.

12   By this time, when Officer Kellow attempted to call the defendant, he had moved. This is the

13   subject of violation number 2, to which defendant entered an admission on February 15, 2006

14   (Dkt. No. 207).

15          It appears from the evidence that the defendant attempted to comply with the directive

16   from Officer Banks. In light of his actions initiating contact with Officer Banks, arriving at the

17   federal courthouse on the date directed, albeit late, leaving his telephone contact information,

18   and contacting his DOC probation officers, it does not appear that the defendant was acting

19   willfully in his actions. Nevertheless, Officer Banks instructed the defendant to appear by 4:00

20   p.m., and had the defendant done so, he would have been processed properly.

21                                     III. RECOMMENDATION

22          I therefore recommend that the Court find that the defendant committed violation

23   number 1 as alleged, namely, that he failed to report to the probation office as directed on or

24   about August 23, 2005, in violation of the standard condition number 2. A disposition hearing

25   on violation number 1, if this recommendation is adopted, and on admitted violation number

26   2 remains to be set before the Honorable Marsha J. Pecham.

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01           Objections to this recommendation should be filed with the Clerk (not mailed directly

02   to Judge’s chambers) and served on opposing parties within ten (10) days of the date of entry

03   of this Report and Recommendation. Failure to file objections within the specified time waives

04   the right to appeal any order by the District Court adopting this report and recommendation.

05           Pending a final determination by the Court, the defendant has been detained.

06           DATED this 1st day of March, 2006.

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                                                         A
                                                         JAMES P. DONOHUE
                                                         United States Magistrate Judge
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     cc:     District Judge:              Honorable Marsha J. Pechman
11           AUSA:                        Mr. J. Tate London
             Defendant’s attorney:        Mr. Robert W. Goldsmith
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             Probation officer:           Ms. Margaret K. Kellow
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     VIOLATIONS OF SUPERVISED RELEASE
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